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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     HENRY M. MARTINEZ
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )                CASE NO. CR.S-09-313 FCD
                                           )
12                     Plaintiff,          )
                                           )                STIPULATION AND ORDER TO CONTINUE
13         v.                              )                STATUS HEARING AND TO EXCLUDE TIME
                                           )                PURSUANT TO THE SPEEDY TRIAL ACT
14                                         )
     HENRY M. MARTINEZ,                    )
15                                         )
                       Defendant.          )
16   _____________________________________ )
17          This case is currently scheduled for a status hearing on January 11, 2010. The attorneys for both
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for January 11, 2010, be continued until January 25, 2010, at 10:00 a.m.. In
22   addition, the parties stipulate that the time period from January 11, 2010, to January 25, 2010, be excluded
23   under the Speedy Trial Act (18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4), due to the need to provide
24   defense counsel with the reasonable time to prepare.
25
26   ///
27   ///
28   ///
               Case 2:09-cr-00313-GEB Document 20 Filed 01/07/10 Page 2 of 2


 1   DATED:January 7, 2010
 2
                          Respectfully submitted,
 3
     BENJAMIN B. WAGNER                                 DANIEL BRODERICK
 4   United States Attorney                             Federal Defender
 5
 6   /s/ Lexi Negin for                                 /s/ Lexi Negin
     PAUL HEMESATH                                      LEXI NEGIN
 7   Assistant U.S. Attorney                            Assistant Federal Defender
     Attorney for United States                         Attorney for Henry M. Martinez
 8
 9          IT IS SO ORDERED.
10   DATED: January 7, 2010
11
                                                    _______________________________________
12                                                  FRANK C. DAMRELL, JR.
                                                    UNITED STATES DISTRICT JUDGE
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